CaS€ 1-16-44555-688 DOC 11 Filed 10/18/16 Entered 10/18/16 15259:38

 

P|aza Hair Desi_uns Inc.

 
    

 

    
 
 

 

 

 

 

  
 

 

 
   

 

 

 

 

     

 

 

 

 

    

 

\pe’,i¢d,gegm.f 7/30/2015 1940A Deer Park Ave.
` " `~ 7/16/2016 Deer Pa_rk, NY 11729
631-243~5927
22698 $134.39
~,:§.` ` ` E`ARN"ING ` ;"~' ¥No't:£n"cludéd Ih`ffo`tal§ *: ;~ ~, `};;fDEDUCTIQ'NS"/,F v».\
Description Rate Hours Do!lars Y!'D Hours YTD Do!iars Description Current YTB Description Current YTD
Regu|ar 0.00 150.00 0.00 3,000.00 soc SEC EE 9.30 186.00 Disab 0.60 11.40
MED EE 2.17 43.50
FEDERAL wH 2.88' 57.60
NEW YORK CITY 0.66 13.20
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0.00 150.00 3,000.00 Total: 15.01 300.30 Tobni: 0.60
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P|aza Hair Desim`\s Inc.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7/27/2015 1940A Deer Park Ave.
Deer Park, NY 11729
631-243-5927
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4.38 $150.00 $134.38
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Hours Do|lars YTD Hours YTD Do|!ars Description Current YFD Description Current
0.00 150.00 0.00 3,150.00 SOC SEC EE 9.30 195.30 DiSab 0.60 12.00
MED EE 2.18 45.68
FEDERAL wH 2.88 60.48
NEW YORK CITY 0.66 13.86
0.00 150.00 0.00 3,150.00 Tota|: 15.02 315.32 Tota|: 0.60 12.00
1€URRENT: FERIOD`LEA‘VE'ACCRUAL "2":\ "'~i~“ »‘.DIS'¥'RIBU‘|'IONFOF:NET~PAY~,~f,z'; f `

 

 

 

 

 

 

CaS€ 1-16-44555-688 DOC 11 Filed 10/18/16 Entered 10/18/16 15259:38

 

 

 

 

 
 
 

 

   
 

 

 

Plaza Hair Desiqns Inc.

 

 

 

 

 

 

 

   

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7/24/2015 3/3/2015 194OA D€er Pal’k Ave.
7/30/2016 Deer Park, NY 11729
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$134.39
c ' 1 .TAXES ,, EDUGTION l
Description Rate chrs Do!!ars YTD Hours YTD Do||ars Descnption Current Current YTD
R€Qulaf 0.00 150.00 0.00 ` 3,300.00 SOC SEC EE 9.30 204.60 Disab 0.60 12.60
' MED EE 2.17 47.85 "
FEDERAL WH 2.88 63.36
NEW YORK CITY 0.56 14.52
0.00 150.00 T `0.00 ` ` 73,300.00 Total: 15.01 ' 330.33 Total:
l URRENT§`PER`IOD§LEAVE?ACCRUA[: 7

 

 

 

 

 

CaS€ 1-16-44555-688 DOC 11 Filed 10/18/16 Entered 10/18/16 15259:38

 

Statement of Earnings For:

 

 

Artur Babadzhanov

 

 

 

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Plaza Hair Desiqns Inc.
1940A Deer Park Ave.

Deer Park, NY 11729
631-243~5927

 
  
           

 

 

 

 

 

 

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Regu:ar 0.00 150.001 ‘0;00* ‘~ ~' `3,450.00 soc sec se 930v \ 213.90 Disab 0.60» » 13.20
.~ ~ ` j Meoee 2.18 . ~"59,03 ~ ~ ; ;'~ '
FEDERAL wH 2.88 y 66.24
NEW Yom< crrY 0.66 ' `15.18
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Statement of Eamings For: Artur Babadzhanov Plaza Hair Desiqns Inc.
_. ~ : - 100 ' ~ ’ 8/17/2016 1940A Deer Park Ave.
Deer Park, NY 11729
631-243-5927
$134.39
v »j~§: ' ’ .»;:’~ ,` §“thindude`d'i`nl"\’dté!§ ~,: “ ` ;», ?DEDUCTIONS"FF ` ,¢,~,
Description Rate Hours Dol|ars YTD Hours YTD Dol\ars Description Current YTD Description Current YTD
R€Qu\ar 0.00 150.00 0.00 ' 3,600.00 SCC SEC EE 9.30 223.20 Disab 0.60 13.80
y MED EE 2.17 52.20
FEDERAL WH 2.88 69.12
NEW YORK CITY 0.66 15.84
Total: 0.00 150.00 0.00 3,600.00 Total: 15.01 360.36 Tota!: 0.60 13.80
` CURRENT:PERIOD:LEAVE ACCRUAL"`,': .. : " "‘DISTRIBUTION"OF NET PAY,?';':"

     

 

 

 

 

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Statement of Eamings For: Artur Babadzhanov

    

    

 

 

   
         
 
  
 

 

 

 

 

 

 

 
   

 

 

 

 

 

   
 

 

 

 

 

 

 

 

    

 

   

Plaza Hair Desians Inc.
0071 `D¢ 0100 8/14/2016 194DA Deer Park Ave.
‘ 8/20/2016 Deer Park, N\’ 11729
631~243'5927
$134.39 $150.00
` ` ' ’ ’;EA`RNINGS `_ :'"~€;~*Not included IhTota|s, ~, . ' DEDUC¥'IONS;: »'§f:~; :~`,-':`~ :
Description Rate Hours Dol|ars YTD Hours YTD Dof|ars Descrspbon Current YTD Description Current YTD
R€QU\BF 0.00 _ 150.00 0.00 3,750.00 SOCSECEE 9.30 ` ' 232.50 Disab 0.60 y 14.40
MED EE 2.17 ’ h 54.37 '
FEDERALWH 2.88 72.00
NEW YORK cHY 0.66 16.50
0.00 150.00 0.00 3,750.00 Total: 15.01 375.37 Total: 0.60 14.40
§CURRENTPERIOD:LEAVE'ACCRUAL' ’f :'1“' ` ' ' "*i":~:DISTRIBUTICN CF NET. PAY.'." , , ~`"'

 

 

 

 

 

 

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Statement of Eamings For:

Artur Babadzhanov

 

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plaza Hair Desiqns Inc.
1940A Deer park Ave.
Deer Park, NY 11729

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Description Rate Hours Do!|ars YTD Hours YTD Do|!ars Description Current YTD Descn'ption Current YTD
R€Quiar 0.00 150.00 0.00 3,900.00 SCCSEC EE 9.30 241.80 DiSab 0.60 15.00
’ MEo EE 2.18 56.55

FEDERALWH 2.88 74.88

NEW voRK cm' 0.66 17.16
Towl: 0.00 150.00 ~ 0.00 3,900.00 Towl: 15.02` 390.39 Tota|: 0.60 15.00
- `" §'CURRENT»PERIOD"LEAVEFACCRUALW~6 ;§DISTRIBUTION?OENET"PAY;`

 

 

 

 

 

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Statement of Eamings For: Artur Babadzhanov Plaza Hair Desiqns Inc.
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9/3/2015 D€e|' FEfk, NY 11729
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" ' ii`=§'thiinddde'd§!h‘rctatsi 1 ‘~~ 6 ;, f _. 1
Description Rate Hours Dollars YTD Hours YTD Dol!ars Description Current YTD Descriptjon Current YTD
R€Qu¥af 0.00 150.00 ~ ` 0.00 4,050.00 SOC SEC EE 9.30 251.10 Di$ab 0.60 15.60
MED EE 2.18 58.73 '
FEDERAL WH 2.88 77.76
NEW ¥ORK CI`IY 0.66 17.82
0.00 150.00 _0.00 4,050.00 Tota|: 15.02 405,41 Towl: 0.60 '15.60
°:§§:`CURRENT'P,ERIOD.`LEAVE`A'CCRUAL*`,',._ 5'5"`:'_:;¢; f …FDISTRIBUTIOH,DF~NET P`AY::` ' ' *

 

 

       

 

 

 

 

 

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Deer Park, NY 11729
631-243-5927
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Description Rate Hours Dol|ars YTD Hours YTD Do!lars Current YTD Descn'ption Current YTD
Re§u¥af 0.00 150.00 0.00 4,200.00 soc sEC EE 9.30 260.40 Disab 0.60 16.20
MED EE 2.17 60.90
FEoERAL\Am 2.88 80.64
NEw Yom< cm 0.66 18.48
0.00 150.00 0.00 4,200.00 Total: 15.01 ` ` ; 1 420.`42 Tota|: 0.60 16.20
CURRENT:PERIODFLEAVEFACCRUAL DISTRIBUTIUN§OE§NE`|?;P

      

 

 

 

 

 

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statement of Earnings For: Artur Babadzhanov P|aza Hair Desiqns Inc.
0071 0100 9/11/2016 " 9/21/2015 1940A beer Park Ave.
9/17/2¢)15 Deer Park, NY 11729
)oo<.>o<d*\'i» sinq;e 1 1 531-243-5927
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Rafe YTD YI'D
0.00 , ~ . . ` ~ 4,350.00 SOC SEC EE 269.70 DiS<'ib

4 ` ` : v y MED EE . l 63.08

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NEW YORK CITY . ` ~' 19.14

15.027~` ' 435.44 Totalt

 

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Artur Babadzhanov Plaza Hair Desiqns Inc.

 

  

 

      

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. ~` Pe_dod`l_;nd:~ 55 9/24/2016 : Deer Park, NY 11729
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Description Rate Hours Dol!ars YTD Hours ¥TD Dollars Description Current YTD Description Current Yl'D
Regular 0.00 150.00 D.OO 4,500.00 SOC SEC EE 9.30 279.00 Di$ab 0.60 17.40

' MED EE 2.17 ' ` 65.25 '
FEDERAL WH 2.88 85.40
NEW YORK CIT\’ 0.66 19.80 v

 

 

 

 

 

  

Tofal: 0.00 150.00 0.00 4,500.00 Total: 15.01 450.45 Total: 0.60 17.40
'zif`_CURRENT>PERIOD,LEAVE:ACCRUAL'?,'i5 ' 1;'DISTRIBUII0N:OF'NE\'.PAY

 

 

 

 

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Statement of Earnings For:

Artur Babadzhanov

Plaza Hair Desiqns Inc.

 

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10/2/2016
10/3/2016

   
 

 

 

 

 
  
  
 

1940A Deer Park Ave.
Deer Park, NY 11729
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$134.38 $150.00 $134.38
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Description Rate Hours Dol!ars YTD Hours YTD Dollars Description Current Descfiption Current YTD
R€gu'a¥' 0.00 150.00 0.00 4,800.00 SOCSEC EE 9.30 297.60 Dlsab 0.60 18.60
MED EE 2.18 69.60 ‘ ~
FEDERAL wH 2.88 92.16
NEW \'ORK Cn'¥ 0.66 21.12
0.00 150.00 D.DO 4,800.00 Total: 15.02 480.48 Tota!:

 

 

 

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